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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

                                                :
Scott Rosenberg,                                :
                                                : Civil Action No.: 5:16-cv-13666-JCO-MKM
                                                :
                        Plaintiff,              :
       v.                                       :
                                                :
Ally Financial, Inc.; and DOES 1-10, inclusive, :
                                                :
                        Defendants.             :
                                                :


                                 NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: January 19, 2017

                                                     Respectfully submitted,

                                                     By __/s/ Sergei Lemberg____________

                                                     Sergei Lemberg, Esq.
                                                     LEMBERG LAW, L.L.C.
                                                     43 Danbury Road, 3rd Floor
                                                     Wilton, CT 06897
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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2017, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court Eastern District of Michigan
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.


                                             By /s/ Sergei Lemberg
                                                    Sergei Lemberg, Esq.
